
ORDER
| Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel,
*18IT IS ORDERED that respondent, Jeananne Roy Self, Louisiana Bar Roll number 81539, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the Office of Disciplinary Counsel may seek the appointment of a trustee(s) to protect the interests of respondent’s clients pursuant to the provisions of Supreme Court Rule XIX, § 27, if appropriate.
JOHNSON and WEIMER, JJ., would order an expedited hearing.
FOR THE COURT:
/s/ Greg G. Guidry Justice, Supreme Court of Louisiana
